Case 8:07-CV-OO44O-EAK-TBI\/| Document 1 Filed 03/12/07 Page 1 of 13 Page|D 1

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U'N
T_AMPA Division

 

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number, if applicabie.} 1 _ r,§m
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i<r."_.:_ '

if your answer is YES after reviewing the exhaustion requirements, answer tij_e
following questions. ~

…- Pursuant to tije Prison
Litigation Reform Aot of 1995 Titie Vl|i, Section 803, Amendrijents to Civii

Rights of institutionalized Persons Act, exhaustion of administrative remedies

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is required in any action brought with respect to prison conditions under 42
U. S. C. § 1983, or any other federal law, by a prisoner confined in any jail
prison, or other correctional facility. Any required grievances, appeals, and

' responses must be submitted t-o-~the Ccurt :to::verify' exhaustion.~-ll:f yours
Cornplaint concerns conditions at state prison facilities, you must answer the
following questions in Section ll of this form. if the Cornplaint concerns
conditions at a county jail or local correctional facility, you must complete

Section ill of_ this form. )

EXHAUSTION STEPS OHD|NARILY REGU|RED FOFi COMPLA|NTS ABOUT
COND|TIONS A"l' STATE PR|SON FACiLlT|ES:

Generai Grieva nga

1. lnforma| Grievance (Form D`CS-OOS)
2. Formal Grievance (Form DC`|-3.03)
3. Appeai to the Office of Secretary (Form DC1~303l _ l

Other Grievance§

lnrnates are not required to utilize the lnformal Grievance process in the case of_an
emergency grievance, a grievance of reprisa|, a grievance of a sensitive nature, a
grievance alleging violation of the Americans with Disabilities_Act, a medical grievance,
a grievance involving admissible reading material, a grievance involving gain time
governed by rule 33- 1 1 .0065 incentive Gain Time, or a grievance involving disciplinary
action idoes not include corrective consultations) governed by chapter 33- 22. The
grievance steps are set forth in F|a. Adrnin. Cocle Chapter 33 29.

Ou ion :
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Gri vanc ll 'in Vi la io f he ri n wi h Dis bili ` s M i l
Grilevan 'Gr‘ev nce inv lv' dmis ibl a in M r‘ l Gr' c inv lvin`
v rn ul 33- 1 6 in n v im r' v

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lanlving Di§gigiina;y_ Agtign ngarn§d by Qh egger 3§-22 (Request for

_ Administrative Rernedy or Appeal, bypassing the informal grievance step).

1. Did you submit a`n above-mentioned grievance to th`e Superintendent and/or
to the office of Secretary (Form 001-303)? Yes l ) N_o l }

_ N/A
2. lf so', you must attach a copy of the grievance and response to this Complaint
form. _
v . . l\1//>~
` 3. Were you denied emergency status? Yes l l No ( l
N/A

|f so, did you go through the informal grievance, formal grievance and

appeal process? Yesl )No( )
1\1//1

El.

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_“_ ""$`=El=.-h.. '
b. if so, you must attach copies of the grievance/appeals and responses to
this Compleint form. ' .

B. , lnfgrrna| Qn riev v§gge (Ra'quest for interview)

1. Did you submit an informal grievance (Form DCS-OOS)? Yes ( ) Nol
I_\l/A
2. |f so, you must attachl a copy of the grievance and response to this Complaint‘

form.
, » N/A
C. Fgrmal Grievance lFlequest for Administrative Fiemedy or Appeal}

1. Did you have a disciplinary hearing rega;ding this matter? Yes l ) No ( l
. l\i A '
2. lf so, you must attach a copy of the disciplinary report worksheet and
disciplinary committee' s findings and decision to this Complaint form.
1\1/1\
` 3. Did you submit a formal grievance (Form DCi -303}? Yes l ) No ( l

i\l A
4. if so, you.must attach a copy of the grievance and response to this Comp|aint

form.

.Agggal tg th g foige gf th g §gg rata ry (Request for Administrative Remedy or

Appeal)

1. Did you submit an appeal to the Office of the Secretary (Form DC1-303)?

' Yes ( ) No ( )

n //1. y

2. lf so, y_ou must attach a copy of the appeal and response to this Complaint

form.

l DECLAF{E UNDER PENALTY OF- PERJURY THAT THE FOREGO!NG ANSWEHS TO THE
OUEST|ONS |N THlS SECT|ON ARE TRUE AND CORRECT.

Signed this l' ah day of_MA.Rc,rJ . _@OT

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Signature of Plaintiff

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Case 8:07-cv-OO440-EAK-TBI\/| Document 1 Filed 03/12/07 Page 4 of 13 Page|D 4

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ili. _LES YOULCOMPLAINT CONQERN EVENTS IN A CDUNTY JAlL OR LOCAL
EAQJ_L._U_'? Yesi livele '

If your answer is YES, answer.the following .questions.
A. is there a grievance procedure at your institution or jail? Yes ( ) 'No-( l

t N/e ~
B. Did you present the facts relating to your Cornplaint in the grievance procedure?

Yes ( ) No l )
C. if your answer is YES:

1. What steps did you take?

 

 

N/A 2. ' What were the results?

 

 

3. To demonstrate exhaustion, you must submit copies of all
relevant grievances/appeals and responses.

`lf your answer is NO, explain: I%Su 1: 15 DFA §El\l£>1“1\ll: NATLI i21._ cwqung

vioux'riorue 01»1?0111211»1 A)\\D F`OuQTEEM*m AMEM\:)i\/\izi\l”l'§.

l DECLARE UNDER _PENALTY DF PERJURY THAT THE FOBEGOING ANS'WERS TO THE
QUESTIONS lN THIS SECTION ARE TRUE AND CQRRECT.

signedth'is 1121 day er Maecu ' . _ 3007 .

 

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~ Signature gf F‘laintiff

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lV. ‘ F‘lE l LAW U|`l'S:l

A. Have you initiated other lawsuits` in § t_a_te court dealing with the same or similar
facts involved in this action or otherwise relating to your imprisonment or

conditions thereof? Yes( l No ()<J

B. Have you initiated other lawsuits in f_M court dealing with the same or similar
facts involved in this action .or otherwise relating to your imprisonment or

conditions thereof? Yes ( l No (7<)

C. lf your answer to either A or B is YES describe each lawsuit in the space
provided. If there ls more than one lawsuit describe all additional lawsuits on a
separate piece of paper using the same format.

1 . Parties to previous lawsuit:

Piaimirr(s): 111 111

 

Defendant(s):l

 

 

2. Court iii federal court, name the district; if state court, name the countyl:

 

 

 

1\1//1
3. Doc|<et Nurnber: ' N /A
4. Narne ofjudge: _ z l\l/A `

 

 

5. Briefly describe the facts and basis of the lawsuit:

111/71

 

" 6. Disposition (Wa_s the case dismissed? Was it appealed? ls it still pending?_i:

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DC!HM.WD

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¢\- ...~ - . "'~"¢st.-.-.-¢-

7.' Approximate filing date: N /A

8. Approximate disposition date: N/A

D. Have you initiated lawsuits :or.appeals from lawsuits in` federal court that have
been dismissed as frivolous,' malicious or for failure to state a claim upon which
relief may be granted? if so, identify-these suits below by providing the case
number, the style,.ancl the disposition of each case:

lula

 

 

 

V. _ PART|E In part A of this section, indicate your'_ii& nma § in the first blank and your
full mailing address in the second biank. Do the same for each additional Plaintiff
named' m the Complaint iif any} in part B of this section:

A. Name or Piainrirfz 1121/11a Ll. 31.1101> Dcli 118%1'4
'Mai|ing address: OKALDOSA @>12121££‘_7'1'0~‘/11__ INSHTZJT'ION

1319‘1` 1_1'111_1=: _51 1_\/:':12 120/10, Cei~zermem, l-'i,onioo 325_._€111`~_ 111on

B. Additional Plaintiffs: d

 

 

ln part C of this section, indicate the M game of the first named Defendant. Also, fill t
in his or her mailing address, position, and where he or she' ls employed. For any
additional Defendants, use parts D through G of this section for the names, eddresses,

positions and places of employment:

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éefendant:

Mailing Address:

Position:

Employed at_:'
Defen_dant:
Mailing Address:
Position:
Employed at:
Defendant;

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Employed at:

-Defendant:

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Position:
Employed at:

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¢v . .,.. ._ . . . ""~¢-g..'-_-i -

G. l_JWefe.ndant:

 

N'lai|ing Address:

 

 

 

Position:

Employed_at:

 

Vl. STATEMENT QF CLAIM: State what rights under the Constitution, laws, or treaties
of the United States have been violated, and be specific. lf you intend to allege a
number of related claims, set forth each claim in a separate paragraph. Any claim that
is not related to the same basic incident or issue must be addressed in a separate Civil

Rights Complaint form. CAU@E_ 05 AC_HOM .
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` Vll. STATEMENT OF FAQTS: State as briefly as possible the FACTS of your case.
Describe how each defendant was involved. Do not make any legal arguments or cite

any cases or statutes. State with as much specificity as possible the facts in the
following manner: 1

   

Name and position of personls) involved.

1.

2. Datelsl

3. Placels).

4. Fact(s} or eventlsl giving rise to your claim, including involvement of each
defendant.

5. Nature and extent of injury (1'. e., physical‘ injury or how you were harmed by the

acts of the defandantls)l.
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Statement of Facts, continued:

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Statement`of'Facts, continued:

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Vlll. EEL|EF REOLJE§TED: State briefly what you want the Court to do for you. Again,
do not make any legal arguments or cite any cases or statutes.

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